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                         Exhibit F
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                                                 Exhibit F – U.S. Patent No. 11,109,282


Toyota makes, uses, tests, offers for sale, sells, and/or imports vehicles that comply, operate in accordance, and/or are configured in
accordance with 36 Series of one or more of 3GPP releases 9-16. Such vehicles are collectively referred to as the “Accused Products.”
The Accused Products include Toyota and Lexus-branded vehicles that support LTE and that were made in, used in, tested in, offered
for sale in, sold in, or imported into the United States by Toyota at some point in time since 2018. Each of the Accused Products
supports LTE and, thus, includes the features and functionality identified in this chart. The features and functionality identified in this
chart cause the Accused Products to practice the asserted claims of U.S. Patent No. 11,109,282 (the “’282 patent”).


                Claim 1                                                       Accused Products
 [PRE] A method performed by a             An Accused Product is a user equipment. As evidenced below, the Accused Products
 user equipment (UE) for handover,         perform the claimed method when operating on an LTE network.
 using one of a delta configuration
 signaling scheme or a full
 configuration signaling scheme,
 from a source base station (BS)
 supporting a first protocol release to
 a target BS supporting a second
 protocol release, said UE being
 configured according to a first
 configuration including parameters
 defined in said first protocol release,
 the method comprising:




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              Claim 1                                                     Accused Products




                                     Source: TS 36.300, 1 p. 48




1
 3GPP TS 36.300 V9.10.0 (2012-12) Evolved Universal Terrestrial Radio Access (E-UTRA) and Evolved Universal Terrestrial Radio
Access Network (E-UTRAN); Overall description; Stage 2 (Release 9)

                                                              2
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              Claim 1                                                    Accused Products




                                    Source: TS 36.300, pp. 143-44




                                    Source: TS 36.331, 2 p. 33


2
 3GPP TS 36.331 V9.18.0 (2014-06) Evolved Universal Terrestrial Radio Access (E-UTRA); Radio Resource Control (RRC);
Protocol specification (Release 9)

                                                             3
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              Claim 1                                                       Accused Products




                                        Source: TS 36.331, pp. 97-108


[A] receiving a handover command        As evidenced below, an Accused Product operating on an LTE network receives a handover
message from the source BS,             command message from the source BS, wherein on a condition that the first protocol release
wherein on a condition that the first   is newer than the second protocol release, the handover command message comprises a one-
protocol release is newer than the      bit indication that the UE perform a full configuration, wherein the UE is configured
second protocol release, the            according to the first protocol release used by the source BS.
handover command message
comprises a one-bit indication that
the UE perform a full configuration,
wherein the UE is configured



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              Claim 1                                                   Accused Products
according to the first protocol
release used by the source BS; and




                                     Source: TS 36.300, pp. 143-44




                                     Source: TS 36.331, p. 33




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Claim 1                                               Accused Products




                  Source: TS 36.331, p. 221




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              Claim 1                                                       Accused Products




                                        Source: TS 36.331, pp. 97-108


[B] on a condition that the handover    As evidenced below, an Accused Product operating on an LTE network, on a condition that
command message comprises the           the handover command message comprises the one-bit indication, releases parameters
one-bit indication, releasing           included in said first configuration and performing a full configuration procedure for
parameters included in said first       handover to the target BS so that the UE is configured according to a second configuration
configuration and performing a full     including parameters defined in said second protocol release.
configuration procedure for
handover to the target BS so that the
UE is configured according to a
second configuration including



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               Claim 1                                                Accused Products
parameters defined in said second
protocol release.




                                    Source: TS 36.331, pp. 44-45




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Claim 1                                           Accused Products




                  Source: TS 36.331, pp. 46-47




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                Claim 2                                                   Accused Products
The method of claim 1, wherein on a As evidenced below, on a condition that the first protocol release is not newer than the
condition that the first protocol    second protocol release supported by the target BS, the handover command message does
release is not newer than the second not indicate that the UE perform a full configuration.
protocol release supported by the
target BS, the handover command
message does not indicate that the
UE perform a full configuration.




                                     Source: TS 36.331, pp. 97-108




               Claim 3                                                  Accused Products
The method of claim 1, wherein the   As evidenced below, the handover command message includes a radio resource control
handover command message             (RRC) connection reconfiguration message.
includes a radio resource control


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            Claim 3                                                            Accused Products
(RRC) connection reconfiguration
message.




                                          Source: TS 36.331, p. 221




                Claim 4                                                        Accused Products
The method of claim 1, wherein the        As evidenced below, the first protocol release is a first radio resource control (RRC) protocol
first protocol release is a first radio   release and the second protocol release is a second RRC protocol release.
resource control (RRC) protocol
release and the second protocol




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                Claim 4                                                      Accused Products
release is a second RRC protocol
release.




                                        Source: TS 36.331, p. 33




               Claim 5                                                          Accused Products
The method of claim 1, wherein on       As evidenced below, on the condition that the first protocol release is newer than the second
the condition that the first protocol   protocol release, the first protocol release is higher than the second protocol release.
release is newer than the second
protocol release, the first protocol
release is higher than the second
protocol release.




                                        Source: https://www.3gpp.org/specifications-technologies/specifications-by-series/version-
                                        numbering-scheme



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               Claim 5                                                       Accused Products



                Claim 6                                                         Accused Products
The method of claim 1, wherein on       As evidenced below, on the condition that the first protocol release is newer than the second
the condition that the first protocol   protocol release, the first protocol release is later than the second protocol release.
release is newer than the second
protocol release, the first protocol
release is later than the second
protocol release.




                                        Source: https://www.3gpp.org/specifications-technologies/specifications-by-series/version-
                                        numbering-scheme




               Claim 7                                                      Accused Products
The method of claim 1, wherein the      As evidenced below, the target BS is a first evolved node B (eNB) and the source BS is a
target BS is a first evolved node B     second eNB.
(eNB) and the source BS is a second
eNB.




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             Claim 7                                                        Accused Products




                                       Source: TS 36.300, p. 48




                Claim 8                                                      Accused Products
[PRE] A user equipment (UE)            An Accused Product is a “user equipment.” As evidenced below an Accused Product is
capable of handover, using one of a    capable of handover, using one of a delta configuration signaling scheme or a full
delta configuration signaling scheme   configuration signaling scheme, from a source base station (BS) supporting a first protocol
or a full configuration signaling      release to a target BS supporting a second protocol release, said UE being configured


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                Claim 8                                                          Accused Products
scheme, from a source base station        according to a first configuration including parameters defined in said first protocol release.
(BS) supporting a first protocol          See Claim 1, [PRE].
release to a target BS supporting a
second protocol release, said UE
being configured according to a first
configuration including parameters
defined in said first protocol release,
the UE comprising:

[A] a transceiver configured to           The Accused Products include hardware/software configured to transmit and receive signals
receive a handover command                when communicating using LTE (i.e., a transceiver). As evidenced above, the
message from the source BS,               hardware/software configured to transmit/receive signals when communicating using LTE is
wherein on a condition that the first     configured to receive a handover command message from the source BS, wherein on a
protocol release is newer than the        condition that the first protocol release is newer than the second protocol release, the
second protocol release, the              handover command message comprises a one-bit indication that the UE perform a full
handover command message                  configuration, wherein the UE is configured according to the first protocol release used by
comprises a one-bit indication that       the source BS. See Claim 1, [A].
the UE perform a full configuration,
wherein the UE is configured
according to the first protocol
release used by the source BS; and

[B] a processor configured to, on a       The Accused Products include one or more processors (e.g., processor(s) in a telematics unit,
condition that the handover               processor(s) in a data communications module). As evidenced above, the one or more
command message comprises the             processors are configured to, on a condition that the handover command message comprises
one-bit indication, release               the one-bit indication, release parameters included in said first configuration and perform a
parameters included in said first         full configuration procedure for handover to the target BS so that the UE is configured
configuration and perform a full          according to a second configuration including parameters defined in said second protocol
configuration procedure for               release. See Claim 1, [B].
handover to the target BS so that the
UE is configured according to a
second configuration including


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               Claim 8                                                      Accused Products
parameters defined in said second
protocol release.


                Claim 9                                                     Accused Products
The UE of claim 8, wherein on a        As evidenced above, on a condition that the first protocol release is not newer than the
condition that the first protocol      second protocol release supported by the target BS, the handover command message does
release is not newer than the second   not indicate that the UE perform a full configuration. See Claim 2.
protocol release supported by the
target BS, the handover command
message does not indicate that the
UE perform a full configuration.


              Claim 10                                                    Accused Products
The UE of claim 8, wherein the         As evidenced above, the handover command message includes a radio resource control
handover command message               (RRC) connection reconfiguration message. See Claim 3.
includes a radio resource control
(RRC) connection reconfiguration
message.


               Claim 11                                                     Accused Products
The UE of claim 8, wherein the first   As evidenced below, the first protocol release is a first radio resource control (RRC) protocol
protocol release is a first radio      release and the second protocol release is a second RRC protocol release. See Claim 4.
resource control (RRC) protocol
release and the second protocol
release is a second RRC protocol
release.




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               Claim 12                                                        Accused Products
The UE of claim 8, wherein on the      As evidenced below, on the condition that the first protocol release is newer than the second
condition that the first protocol      protocol release, the first protocol release is higher than the second protocol release. See
release is newer than the second       Claim 5.
protocol release, the first protocol
release is higher than the second
protocol release.


               Claim 13                                                        Accused Products
The UE of claim 8, wherein on the      As evidenced below, on the condition that the first protocol release is newer than the second
condition that the first protocol      protocol release, the first protocol release is later than the second protocol release. See Claim
release is newer than the second       6.
protocol release, the first protocol
release is later than the second
protocol release.


               Claim 14                                                    Accused Products
The UE of claim 8, wherein the         As evidenced below, the target BS is a first evolved node B (eNB) and the source BS is a
target BS is a first evolved node B    second eNB. See Claim 7.
(eNB) and the source BS is a second
eNB.



               Claim 15                                                        Accused Products
[PRE] A non-transitory computer        An Accused Product is a “user equipment.” Each Accused Product includes one or more
readable storage medium storing a      processors (e.g., processor(s) in a telematics unit, processor(s) in a data communications
set of instructions for execution by   module) configured to implement and/or support LTE communications. These processors
at least one processor of a user       implement instructions stored as software/code in memory included in the Accused Product
equipment (UE) for supporting the      (i.e., a non-transitory computer readable storage medium storing a set of instructions for
UE handover, using one of a delta      execution by at least one processor of a user equipment). As evidenced below, the
configuration signaling scheme or a    instructions support UE handover, using one of a delta configuration signaling scheme or a


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               Claim 15                                                         Accused Products
full configuration signaling scheme,      full configuration signaling scheme, from a source base station (BS) supporting a first
from a source base station (BS)           protocol release to a target BS supporting a second protocol release, said UE being
supporting a first protocol release to    configured according to a first configuration including parameters defined in said first
a target BS supporting a second           protocol release. See Claim 1, [PRE].
protocol release, said UE being
configured according to a first
configuration including parameters
defined in said first protocol release,
the set of instructions comprising:

[A] a first instruction segment for       As evidenced above, the instructions cause the UE to receive a handover command message
receiving a handover command              from the source BS, wherein on a condition that the first protocol release is newer than the
message from the source BS,               second protocol release, the handover command message comprises a one-bit indication that
wherein on a condition that the first     the UE perform a full configuration, wherein the UE is configured according to the first
protocol release is newer than the        protocol release used by the source BS. See Claim 1, [A].
second protocol release, the
handover command message
comprises a one-bit indication that
the UE perform a full configuration,
wherein the UE is configured
according to the first protocol
release used by the source BS; and

[B] a second instruction segment          As evidenced above, the instructions cause the UE to, on a condition that the handover
for, on a condition that the handover     command message comprises the one-bit indication, release parameters included in said first
command message comprises the             configuration and perform a full configuration procedure for handover to the target BS so
one-bit indication, releasing             that the UE is configured according to a second configuration including parameters defined
parameters included in said first         in said second protocol release. See Claim 1, [B].
configuration and performing a full
configuration procedure for
handover to the target BS so that the
UE is configured according to a


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              Claim 15                                                        Accused Products
second configuration including
parameters defined in said second
protocol release.


               Claim 16                                                       Accused Products
The non-transitory computer              As evidenced above, on a condition that the first protocol release is not newer than the
readable storage medium of claim         second protocol release supported by the target BS, the handover command message does
15, wherein on a condition that the      not indicate that the UE perform a full configuration. See Claim 2.
first protocol release is not newer
than the second protocol release
supported by the target BS, the
handover command message does
not indicate that the UE perform a
full configuration.


              Claim 17                                                      Accused Products
The non-transitory computer              As evidenced above, the handover command message includes a radio resource control
readable storage medium of claim         (RRC) connection reconfiguration message. See Claim 3.
15, wherein the handover command
message includes a radio resource
control (RRC) connection
reconfiguration message.


                Claim 18                                                      Accused Products
The non-transitory computer              As evidenced below, the first protocol release is a first radio resource control (RRC) protocol
readable storage medium of claim         release and the second protocol release is a second RRC protocol release. See Claim 4.
15, wherein the first protocol release
is a first radio resource control
(RRC) protocol release and the



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             Claim 18                                                          Accused Products
second protocol release is a second
RRC protocol release.


               Claim 19                                                          Accused Products
The non-transitory computer              As evidenced below, on the condition that the first protocol release is newer than the second
readable storage medium of claim         protocol release, the first protocol release is higher than the second protocol release. See
15, wherein on the condition that the    Claim 5.
first protocol release is newer than
the second protocol release, the first
protocol release is higher than the
second protocol release.


               Claim 20                                                          Accused Products
The non-transitory computer              As evidenced below, on the condition that the first protocol release is newer than the second
readable storage medium of claim         protocol release, the first protocol release is later than the second protocol release. See Claim
15, wherein on the condition that the    6.
first protocol release is newer than
the second protocol release, the first
protocol release is later than the
second protocol release.




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